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               UNITED STATES DISTRICT COURT
               SOUTHERN DISTRICT OF GEORGIA
                     SAVANNAH DIVISION

DERRICK L. NICHOLSON,                )
                                     )
              Plaintiff,             )
                                     )
v.                                   )              CV424-067
                                     )
COLBERT, et al.,                     )
                                     )
              Defendants.            )

           ORDER, REPORT AND RECOMMENDATION

      Plaintiff, appearing pro se, filed his Complaint in the Superior

Court of Chatham County, Georgia on September 1, 2023, against Judge

Lisa G. Colbert, Judge Colbert’s Administrative Assistant Monique

Baker, Jameeka Aiken, and Assistant District Attorneys Candace Blyden

and Bonnie Jones. See generally doc. 1-1 at 18-70. Plaintiff amended his

Complaint in Superior Court on March 4, 2024, wherein he omitted

Defendant Blyden from the caption and, seemingly, from the factual

allegations, see doc. 1-1 at 2-11. All Defendants except Aiken answered

the Complaint in Superior Court. See docs. 13 & 15. Defendants removed

the action to this Court and Aiken filed her Answer. See docs. 1 & 7.
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        Defendant Aiken then moved for judgment on the pleadings, see

doc. 16, followed by a separate motion from Defendants Blyden, Colbert,

and Jones, doc. 17. The Court granted Defendant Aiken’s Motion, in part,

and then granted Defendants Blyden, Colbert, and Jones’ motion,

dismissing them from the case. Doc. 29 at 23-25 (adopted by doc. 34).

Then, the Court directed Plaintiff to amend his Complaint as to

Defendant Aiken. Id. at 23. Because Defendant Baker did not join the

pleadings or file her own motion, claims against her remained pending.

Doc. 34 at 1. Plaintiff amended his Complaint for the second time, as

directed, doc. 31, and Defendant Aiken filed a Motion to Dismiss, doc. 32.

Defendant Baker filed an Answer to the Second Amended Complaint,

doc. 33, but then filed a Motion to Dismiss, doc. 35, and a Motion to Stay,

doc. 36. Plaintiff responded to Aiken’s Motion, doc. 37, but he did not

respond to either of Baker’s.       Nevertheless, all motions are ripe for

review.

  I.       Facts

        Plaintiff’s allegations in this case stem from state court proceedings

resulting in a protective order being entered against him, and then his

arrest for violating that protective order.       See, e.g., doc. 1-1 at 2-4.


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Plaintiff’s Second Amended Complaint alleges that he sent evidence in

the form of text messages and video to Defendant Baker, who served as

Judge Lisa Colbert’s judicial assistant, in preparation for the initial

hearing on the protective order. Doc. 31 at 2. Plaintiff argues that,

because Defendant Baker failed to forward his “evidence” to Judge

Colbert prior to the hearing, the protective order was unfairly entered

against him. Id. at 3.

     Then, on January 20, 2022, Defendant Aiken, who was employed

by the Savannah Police Department, contacted him regarding

communications between Plaintiff and the individual protected by the

order. Doc. 31 at 2. Plaintiff concedes that he contacted this individual

after she contacted him, but believes the contact was justified. Id. In

any event, Plaintiff was awoken early in the morning on June 10, 2022,

by armed “men shouting through [his] bedroom door for [him] to come

out.” Id. at 2. He was then transported and transferred to Chatham

County jail where he was held on unspecified charges. Id. Plaintiff

alleges Defendant Aiken violated “federal rule 903,” that she made false

statements, and that she kidnapped him by transporting him across state

boundaries. Id. at 3. Though he does not allege that Aiken was present


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during his arrest, he claims that Aiken violated his Fourth Amendment

rights to “unwanted searches and seizures by having him arrested at his

Miami home with no warrant to show jurisdiction.”                   Id.   He claims

Defendant Aiken “wasted taxpayers[’] money just to cause harm to a man

when all she had to do was get a valid warrant an[d] call him like she

already was doing an[d] told him about the warrant an[d] gave him

money to get on gray hound bus he would’ve gladly turn[ed] himself in.”

Id. at 2. Though he was directed to only make Fourth Amendment claims

against Aiken (doc. 29 at 23), he has asserted allegations against both

Defendants Baker and Aiken asserting other claims. 1 See doc. 31 at 3.

Defendants Baker and Aiken have each moved to dismiss Plaintiff’s

claims. See docs. 32 & 35.




1 Plaintiff entitled a section of his Second Amended Complaint “NUISANCE.”         Doc.
31 at 3. “Nuisance” is a legal term of art. See, e.g., McBrayer v. Governors Ridge Off.
Park Ass'n, Inc., 860 S.E.2d 58, 62 (Ga. App. 2021) (“A nuisance is anything that
causes hurt, inconvenience, or damage to another and the fact that the act done may
otherwise be lawful shall not keep it from being a nuisance.”) (citing O.C.G.A. § 41-1-
1). Plaintiff included no allegations relevant to the statutory or common law nuisance
tort or otherwise. The Court’s leniency to a pro se plaintiff does not allow the court
license to serve as his “de facto counsel . . ., or to rewrite an otherwise deficient
pleading in order to sustain an action.” Powers v. Avondale Baptist Church, 393 F.
App’x 656, 657 (11th Cir. 2010) (internal quotation marks omitted); In re Unsolicited
Letters to Fed. Judges, 120 F. Supp. 2d 1073, 1074 (S.D. Ga. 2000). Thus, to the extent
alleged, Plaintiff’s nuisance claim should be dismissed as frivolous.
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  II.     Procedural Posture

        As noted above, Defendant Baker filed an Answer and then filed a

Motion to Dismiss. See docs. 33 & 35. Because the Motion to Dismiss is

procedurally improper, the implication of that impropriety must be

addressed before turning to the Motion’s merits. Federal Rule of Civil

Procedure 12(b) provides that “[e]very defense to a claim for relief in any

pleading must be asserted in the responsive pleading if one is required.”

Fed. R. Civ. P. 12(b). However, a party raising by motion the defenses

enumerated under the rule must do so “before pleading if a responsive

pleading is allowed.” Id. (emphasis added). Defendant Baker filed her

Motion to Dismiss after filing her Answer, if only just. Compare doc. 33

(Answer filed Aug. 27, 2024), with doc. 35 (Motion to Dismiss filed later

same day). “Under the unambiguous, mandatory language of Rule 12(b),

a motion to dismiss must be made before an answer is filed.” Brisk v.

City of Miami Beach, Fla., 709 F. Supp. 1146, 1147 (S.D. Fla. 1989).

        Even though Defendant Baker raised the same issues presented in

her Motion to Dismiss in her Answer, see, e.g., doc. 33 at 4, that does not

necessarily save her from her procedural misstep. See Walker v. Mead,

2014 WL 2778162, at *1 (M.D. Fla. June 18, 2014) (“[T]o the extent the


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Motion seeks dismissal under Federal Rule of Civil Procedure 12(b), any

right thereto has been waived because [defendant] filed his Motion

contemporaneously with his answer, in contravention of Rule 12(b)’s

requirement that a motion to dismiss be filed before the responsive

pleading.”); see also Brisk, 709 F. Supp. at 1147 (“Once the defendants

filed their answer, it became procedurally impossible for the Court to rule

on the motion to dismiss.”); cf. Ward v. Glynn Cnty. Board of Comm’rs,

2016 WL 4269041, at *7 (S.D. Ga. Aug. 11, 2016) (declining to find that

defendant’s filing of an answer on the same day as its motion to dismiss

for failure to state a claim rendered the motion moot, where motion was

submitted before the responsive pleading).

     Even though Defendant Baker’s motion to dismiss is procedurally

improper, it is not necessarily fatal to the underlying substance of her

arguments. Some district courts in the Eleventh Circuit simply deny as

moot an untimely filed motion to dismiss. See Walker, 2014 WL 2778162,

at *1, *3 (denying motion to dismiss filed simultaneously with answer

and collecting cases where “[d]istrict [c]ourts in the Eleventh Circuit

[have] routinely den[ied] motions to dismiss as moot which are filed

simultaneously with or after an answer is filed.”). However, other courts


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address the substantive arguments, at least those made under Rule

12(b)(6), “as if they had been properly raised in a motion for judgment on

the pleadings.” Brisk, 709 F. Supp. at 1147-48; see also Tamiami Condo.

Warehouse Plaza Ass’n, Inc. v. Markel Am. Ins. Co., 2019 WL 4863378, at

*2 (S.D. Fla. Oct. 2, 2019) (noting that Rule 12(b) “requires that all . . .

motions be filed prior to a responsive pleading,” and construing Rule

12(b)(6) motion as a motion for judgment on the pleadings pursuant to

Rule 12(c)); Alilin v. State Farm Mut. Auto. Ins. Co., 2014 WL 7734262,

at *4 (M.D. Fla. Jan. 30, 2014) (construing a post-answer motion brought

under Rule 12(b)(6) as a motion for judgment on the pleadings brought

under Rule 12(c), since the standards are the same); see also Fed. R. Civ.

P. 12(i) (contemplating motions requesting that the Court hear and

decide any defenses raised “in a pleading or by motion” prior to trial). A

district court’s determination as to how to proceed is discretionary. Green

v. Henry Cnty. Comm’n, 2020 WL 974388, at *3 (M.D. Ala. Feb. 28, 2020).

Here, because of the threshold immunity arguments presented by

Defendant Baker’s Motion, the Court should exercise that discretion to

consider the merits of her Motion to Dismiss.




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  III. Legal Standard

     Although both dispositive motions before the Court reference

Federal Rule 12(b)(6), for the reasons discussed above, only Aiken’s

Motion is construed as such. However, “[t]he legal standards applicable

to Federal Rule of Civil Procedure 12(c) motions for judgment on the

pleadings and Rule 12(b)(6) motions to dismiss are the same.” Marshall

v. Safeco Ins. Co. of Ind., 2013 WL 12155468, at *1 (S.D. Ga. Apr. 16,

2013).   Therefore, the Court must “accept as true all material facts

alleged in the non-moving party’s pleading, and . . . view those facts in

the light most favorable to the non-moving party.” Perez v. Wells Fargo

N.A., 774 F.3d 1329, 1335 (11th Cir. 2014); see also Belanger v. Salvation

Army, 556 F.3d 1153, 1155 (11th Cir. 2009). No matter the authority

given for dismissal, “threadbare recitals of the elements of a cause of

action, supported by mere conclusory statements,” are insufficient.

Ashcroft v. Iqbal, 556 U.S. 662, 678-79 (2009) (explaining that “only a

complaint that states a plausible claim for relief survives a motion to

dismiss”). Rather, the complaint must “give the defendant fair notice of

what the [plaintiff’s] claim is and the grounds upon which it rests.” Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 545 (2007) (citation and internal


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quotations omitted) (retiring the prior “unless it appears beyond doubt

that the plaintiff can prove no set of facts” standard). A complaint should

be dismissed pursuant to Federal Rule of Civil Procedure 12(c) only if “it

is clear that the plaintiff would not be entitled to relief under any set of

facts that could be proved consistent with the allegations.” Horsley v.

Rivera, 292 F.3d 695, 700 (11th Cir. 2002); see also King v. Akima Glob.

Servs., LLC, 775 F. App’x 617, 620 (11th Cir. 2019) (per curiam).

     Here, the Federal Rules of Civil Procedure 12(c), 12(b)(6), and 8(a)

work in tandem. Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at

555). Rule 8(a)(2) provides that to state a claim for relief, a complaint

must contain “a short and plain statement of the claim showing that the

pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). “A pleading that

offers ‘labels and conclusions’ or ‘a formulaic recitation of the elements of

a cause of action’” does not suffice. Iqbal, 556 U.S. at 678 (quoting

Twombly, 550 U.S. at 555). The purpose of these rules is “to require the

pleader to present his claims discretely and succinctly, so that,” among

other things, “his adversary can discern what he is claiming and frame a

responsive pleading” and “the court can determine which facts support

which claims and whether the plaintiff has stated any claims upon which


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relief can be granted.” Weiland v. Palm Beach Cty. Sheriff's Office, 792

F.3d 1313, 1320 (11th Cir. 2015) (citation omitted).

     To that end, a complaint must state a facially plausible claim for

relief, and “‘[a] claim has facial plausibility when the plaintiff pleads

factual content that allows the court to draw the reasonable inference

that the defendant is liable for the misconduct alleged.’”      Wooten v.

Quicken Loans, Inc., 626 F.3d 1187, 1196 (11th Cir. 2010) (quoting Iqbal,

556 U.S. at 678). However, where “[m]ore specific allegations . . . would

have remedied the pleading problems found by the district court,” the

court is required to give a pro se plaintiff the opportunity to amend his

complaint. Woldeab v. Dekalb Cnty. Bd. of Educ., 885 F.3d 1289, 1291

(11th Cir. 2018) (quoting Thomas v. Town of Davie, 847 F.2d 771, 773

(11th Cir. 1988)) (internal quotation marks omitted).

  IV.   Baker’s Motion to Dismiss

     As noted, the Court will construe Baker’s Motion to Dismiss, doc.

35, as a Motion for Judgment on the Pleadings. The facts specifically

alleged against Defendant Baker are that Plaintiff was contacted by

Defendant Baker regarding a virtual court hearing scheduled to occur on

December 10, 2021. Doc. 31 at 1. Plaintiff responded to Defendant


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Baker’s communication with questions about entering evidence in the

hearing, but after Defendant Baker asked for his case number, she

purportedly never answered his question. Id. at 1-2. When he did not

receive a response from Defendant Baker after three days, Plaintiff sent

Defendant Baker his “evidence” which he hoped would be entered into

the hearing on his behalf. Id. The Judge purportedly told Plaintiff she

never received his evidence, and a protective order was placed against

Plaintiff requiring him to remain at least 500 yards away from the

protected individual. Id. The order effectively mandated that Plaintiff

vacate his home because its location was within the confines of the

protected area mandated by the order. Id.

     In her brief, Defendant Baker argues that Plaintiff’s claims are

“barred by judicial immunity.” Doc. 35-1 at 4. She notes, “[j]udges are

absolutely immune from lawsuits for money damages involving actions

taken in their judicial capacity, unless they acted in the ‘clear absence of

all jurisdiction.’” Id. (citing Stump v. Sparkman, 435 U.S. 349, 356-57

(1978)). Defendant Baker then lays out the standard for determining

whether a judge was “acting in a judicial capacity for immunity

purposes.” Id. She then argues that “[s]taff members of a judge ‘are


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encompassed by a judge’s absolute immunity” but concedes the

entitlement applies only when their official duties have an “integral

relationship with the judicial process.” Id. at 5. As Defendant Baker

summarizes, doc. 35-1 at 5-6, and as Plaintiff’s own Second Amended

Complaint makes clear, Defendant Baker is entitled to quasi-judicial

immunity. See doc. 31 at 1 (alleging that Baker was “at all times” . . .

“acting within the scope of employment with or under the agency of the

Chatham County Superior Court.”)          Plaintiff’s failure to respond to

Defendant Baker’s defense does not refute or correct his own concession

in this regard. Thus, because the uncontroverted record indicates that

Defendant Baker’s communications and lack of action regarding the

exhibits were made in her capacity as Judge Colbert’s assistant, she

qualifies as a nonjudicial official who is encompassed by Judge Colbert’s

absolute immunity. See doc. 35-1 at 6 (arguing that Baker “was acting

within the scope of her position as Defendant Judge Colbert’s assistant,-

-i.e., she was informing a litigant of the hearing.”).

     Defendant Baker includes a defense against any state law claims,

arguing that, to the extent alleged, Plaintiff’s malicious prosecution

and/or defamation claim is barred under the Georgia Torts Claims Act,


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O.C.G.A. §§ 50-21-20, et. seq. Under Georgia law, “[t]he state shall have

no liability for losses resulting from . . . . [l]egislative, judicial, quasi-

judicial, or prosecutorial action or inaction; false imprisonment, false

arrest, malicious prosecution, abuse of process, libel, slander.” O.C.G.A.

§§ 50-21-24(4), (7). These enumerated limitations in the state’s waiver of

sovereign immunity render Plaintiff’s allegations against Defendant

Baker incapable of success. Thus, to the extent they are alleged, they

should be dismissed.

     Even if quasi-judicial immunity did not apply, the claims against

Defendant Baker would still fail. Plaintiff has merely stated conclusory

and “threadbare recitals of the elements of a cause of action, supported

by mere conclusory statements,” which are insufficient. Iqbal, 556 U.S.

at 678.   In other words, Plaintiff would not be entitled to relief under

any set of facts that could be proved consistent with his allegations

against Defendant Baker and her Motion to Dismiss, doc. 35, construed

as a motion for judgment on the pleadings under Rule 12(c), should be

GRANTED.




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  V. Aiken’s Motion to Dismiss

       As she did previously, Defendant Aiken claims that she is entitled

to qualified immunity in her individual capacity. In her present motion

to dismiss, Aiken argues that she is employed by the Savannah Police

department, and in that capacity contacted Plaintiff on January 20, 2022.

Doc. 32 at 2. Aiken states she warned Plaintiff about violating the

protective order issued against him. Id. The next day, a warrant was

issued for Plaintiff’s arrest, charging Plaintiff with one count of

aggravated stalking. Doc. 31 at 9. In the warrant, Defendant Aiken

attested that Plaintiff violated the December 15, 2021 protective order in

place against him on multiple dates from December 27, 2021 to January

17, 2022, and that Plaintiff admitted knowledge of the protective order.

Id.

       Defendant Aiken directs the Court to Plaintiff’s exhibits, which

clearly show that the District Attorney’s Office of the Eastern Judicial

Circuit of Georgia sent a letter to Defendant Aiken dated April 6, 2022,

indicating that, if Plaintiff was arrested on the aforementioned warrant

in another state, the District Attorney’s Office would seek extradition.

Doc. 32 at 3 (citing doc. 31 at 7). Defendant Aiken also directs the Court


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to Plaintiff’s Second Amended Complaint, wherein Plaintiff recounts how

he admitted to Defendant Aiken that he had contacted the individual

protected by the order. Id. (citing doc. 31 at 2). Furthermore, Defendant

Aiken notes that, although Plaintiff claims the arrest was made without

a warrant and he was transferred to Georgia illegally, he attached a copy

of the Georgia warrant that was issued for his arrest on January 21,

2022, as well as the letter regarding extradition. Id. Aiken notes that

she was not present for Plaintiff’s arrest by U.S. Marshals in Miami,

Florida. Doc. 32 at 3.

     Defendant Aiken argues that she is entitled to qualified immunity

as to Plaintiff’s claims of unlawful seizure, and, to the extent alleged, she

argues she is entitled to qualified immunity on Plaintiff’s excessive force

claim. Doc. 32 at 6-10. Her defense to Plaintiff’s unlawful seizure claim

includes argument that any related claims relevant to false arrest, false

imprisonment, and malicious prosecution also fail. Id. at 6-9. She then

argues that Plaintiff has failed to allege any illegal search, and that, to

the extent alleged, his illegal search claim should be dismissed as

insufficiently pled under Federal Rule 8. Id. at 10-11.




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     “Qualified immunity shields public officials from liability for civil

damages when their conduct does not violate a constitutional right that

was clearly established at the time of the challenged action.” Echols v.

Lawton, 913 F.3d 1313, 1319 (11th Cir. 2019) (internal quotation marks

omitted). To receive qualified immunity, the officer “bears the initial

burden to prove that he acted within his discretionary authority.” Dukes

v. Deaton, 852 F.3d 1035, 1041 (11th Cir. 2017). Officers who act within

their discretionary authority are “entitled to qualified immunity under

§ 1983 unless (1) they violated a federal statutory or constitutional right,

and (2) the unlawfulness of their conduct was ‘clearly established at the

time.’ ” Dist. of Columbia v. Wesby, 583 U.S. 48, 63 (2018) (quoting Reichle

v. Howards, 566 U.S. 658, 664 (2012)).

     Aiken argues that her involvement in Plaintiff’s arrest and

prosecution revolved around “’investigating and securing an arrest

warrant in response to reported criminal activity,’” actions which are

within an officer such as Aiken’s discretionary authority. Doc. 32 at 5

(quoting Carter v. Gore, 557 F. App’x 904, 907 (11th Cir. 2014)). Plaintiff

does not dispute that Aiken acted within her discretionary authority, so

he bears the burden of proving she is not entitled to qualified immunity.


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     Plaintiff instead relies upon the facts underpinning his claim that

Defendant Aiken violated his constitutional rights. See generally, doc.

37. Although Plaintiff does not articulate a specific Fourth Amendment

seizure claim, he appears to assert that Defendant Aiken had him

unlawfully arrested, and then he was undeservedly prosecuted. See

generally, doc. 31. “False arrest and false imprisonment overlap; the

former is a species of the latter.” Wallace v. Kato, 549 U.S. 384, 388

(2007). “Under the Fourth Amendment, which is applicable to the States

through the Fourteenth Amendment, persons have the right not to be

arrested without probable cause. [Cit.] Violation of this right may give

rise to a claim for damages pursuant to section 1983 . . . .” Von Stein v.

Brescher, 904 F.2d 572, 578 (11th Cir. 1990) (citations omitted); see also

Ortega v. Christian, 85 F.3d 1521, 1525 (11th Cir. 1996) (“A warrantless

arrest without probable cause violates the Fourth Amendment and forms

the basis for a section 1983 claim.” (citation omitted)). “[A] federal . . .

claim for false arrest requires the plaintiff to show the absence of

probable cause at the time of the arrest.” Hesed-El v. McCord, 829 F.

App’x 469, 472 (11th Cir. 2020). “An arrest without a warrant and

lacking probable cause violates the Constitution and can underpin a


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§ 1983 claim, but the existence of probable cause at the time of arrest is

an absolute bar to a subsequent constitutional challenge to the arrest.”

Brown v. City of Huntsville, Ala., 608 F.3d 724, 734 (11th Cir. 2010).

     Plaintiff alleges that there was “no warrant presented through the

[w]hole process” of his arrest, detention, and extradition. Doc. 31 at 2.

However, his own pleadings contradict this assertion. As noted, Plaintiff

affixed to his Second Amended Complaint a copy of the warrant which

was issued for his arrest. Id. at 9. Where “the exhibits contradict the

general and conclusory allegations of the pleading, the exhibits govern.”

Griffin Indus., Inc. v. Irvin, 496 F.3d 1189, 1206 (11th Cir. 2007) (citing

Associated Builders, Inc. v. Ala. Power Co., 505 F.2d 97, 100 (5th Cir.

1974)) (“Conclusory allegations and unwarranted deductions of fact are

not admitted as true, especially when such conclusions are contradicted

by facts disclosed by a document appended to the complaint. If the

appended document, to be treated as part of the complaint for all

purposes under Rule 10(c), Fed. R. Civ. P., reveals facts which foreclose

recovery as a matter of law, dismissal is appropriate.” (citation omitted)).

Thus, Plaintiff’s claims regarding his false arrest and/or false




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imprisonment are precluded because his arrest was not warrantless, and

he provides no assertion that the warrant was improper.

     On the other hand, Plaintiff also appears to assert that he was

prosecuted undeservedly, and the Court construes these facts as an

attempt to bring a malicious prosecution claim. “[T]he tort of malicious

prosecution requires a seizure ‘pursuant to legal process.’”      Black v.

Wigington, 811 F.3d 1259, 1267 (11th Cir. 2016) (citation omitted).

“[W]arrant-based seizures fall within this category. In order to establish

a federal malicious prosecution claim under § 1983, “a plaintiff must

prove (1) the elements of the common law tort of malicious prosecution,

and (2) a violation of [his] Fourth Amendment right to be free of

unreasonable seizures.” Paez v. Mulvey, 915 F.3d 1276, 1285 (11th Cir.

2019) (citation and quotation marks omitted); see also Williams v.

Aguirre, 965 F.3d 1147, 1157 (11th Cir. 2020) (“[T]his Court uses

‘malicious prosecution’ as only ‘a shorthand way of describing’ certain

claims of unlawful seizure under the Fourth Amendment.”).

     The elements of the common law tort of malicious prosecution

include: “(1) a criminal prosecution instituted or continued by the present

defendant; (2) with malice and without probable cause; (3) that


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terminated in the plaintiff accused’s favor; and (4) caused damage to the

plaintiff accused.” Paez, 915 F.3d at 1285 (citation omitted).

     [T]he favorable-termination element requires only that the
     criminal proceedings against the plaintiff formally end in a
     manner not inconsistent with his innocence on at least one
     charge that authorized his confinement. A formal end to
     criminal proceedings will satisfy this standard unless it
     precludes any finding that the plaintiff was innocent of the
     charges that justified his seizure, which occurs only when the
     prosecution ends in the plaintiff’s conviction on or admission
     of guilt to each charge that justified his seizure.

Laskar v. Hurd, 972 F.3d 1278, 1295 (11th Cir. 2020). Although little is

known about the specific status of Plaintiff’s prosecution, he admits that

he was charged with a crime that he is “fighting to this day.” Doc. 31 at

3. Therefore, as Defendant Aiken noted, his allegations of malicious

prosecution fail because his prosecution has not terminated in his favor

or otherwise. See doc. 32 at 3.

     Defendant Aiken also seeks qualified immunity from Plaintiff’s

excessive force claim to the extent he alleged such a claim. Doc. 32 at 9-

10. Plaintiff’s Second Amended Complaint indeed recounts how he was

awoken by men shouting through his bedroom door “with guns drawn,”

and claims that U.S. Marshals transported him to an unknown location.

Doc. 31 at 2. He also generally claims that Defendant Aiken “caused hurt


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to the Plaintiff grandmother.” Id. at 3.       “The Fourth Amendment’s

freedom from unreasonable searches and seizures encompasses the plain

right to be free from the use of excessive force in the course of an arrest.”

Wade v. Daniels, 36 F.4th 1318, 1323 (11th Cir. 2022) (quoting Vinyard

v. Wilson, 311 F.3d 1340, 1347 (11th Cir. 2002)). However, not only has

Plaintiff failed to allege any specific claim of excessive force, but he has

also failed to establish any causal link between Defendant Aiken and any

hypothetical use of excessive force. See Troupe v. Sarasota County, 419

F.3d 1160, 1165 (11th Cir. 2005) (“A § 1983 claim requires proof of an

affirmative causal connection between the defendant’s acts or omissions

and the alleged constitutional deprivation”); Zatler v. Wainwright, 802

F.2d 397, 401 (11th Cir. 1986) (holding that a § 1983 claim requires proof

of an affirmative causal connection between the defendant's act and the

alleged constitutional deprivation); see also Monell v. Dep't of Soc. Servs.,

436 U.S. 658, 692 (1978) (“Congress did not intend § 1983 liability to

attach where [ ] causation [i]s absent”). Plaintiff presents no theory for

holding Defendant Aiken liable for any potential excessive force claim.

Thus, to the extent alleged, Plaintiff fails to state a claim for excessive

force and thus his excessive force claim should be dismissed.


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     Defendant Aiken also notes that Plaintiff failed to allege any illegal

search, and therefore, to the extent he intended to claim a violative

search was conducted, his claim fails under the Federal Rules of Civil

Procedure pleading standards. Indeed, in reviewing Plaintiff’s Amended

Complaint, there is no assertion even hinting at an improper search.

Therefore, this claim should also be dismissed. See Fed. R. Civ. Pro. 8(a)

(requiring a “short and plain statement” of the claim); see also Iqbal, 556

U.S. at 678 (“The pleading standard Rule 8 announces does not require

‘detailed factual allegations,’ but it demands more than an unadorned,

the-defendant-unlawfully-harmed-me accusation.” (quoting Twombly,

550 U.S. at 555)).

     Plaintiff has not presented any other Fourth Amendment

allegations, and to the extent he attempted to bring any other claims

against Defendant Aiken, those claims should be dismissed for his failure

to comply with the Court’s prior order. See doc. 29 at 16-17 (instructing

Plaintiff that his Fourth Amendment claim is the only claim which he

was allowed to assert against Defendant Aiken, and warning that other

allegations would be disregarded).       Accordingly, Defendant Aiken’s

Motion to Dismiss should be GRANTED. Doc. 32.


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  VI.   CONCLUSION

     The Court RECOMMENDS that Defendant Baker’s Motion to

Dismiss, construed as a Motion for Judgment on the Pleadings, doc. 35,

be GRANTED.        The Court also RECOMMENDS that Defendant

Aiken’s Motion to Dismiss, doc. 32, be GRANTED and that Plaintiff’s

Second Amended Complaint be DISMISSED. Finally, given the Court’s

recommendation that both remaining Defendants are immune from suit,

Defendant Baker’s Motion to Stay Discovery, doc. 36, is GRANTED,

pending the District Judge’s adoption of the present Report and

Recommendation (R&R). See Roland v. Phillips, 19 F.3d 552, 556 (11th

Cir. 1994) (discussing officials entitled to quasi-judicial immunity from

suit (emphasis added)); see also Mitchell v. Forsyth, 472 U.S. 511, 526

(1985) (“Unless the plaintiff's allegations state a claim of violation of

clearly established law, a defendant pleading qualified immunity is

entitled to dismissal before the commencement of discovery.” (citing

Harlow v. Fitzgerald, 457 U.S. at 817 (1982)). Should the District Judge

decline to adopt the R&R, the stay shall be lifted.

     This R&R is submitted to the district court judge assigned to this

action, pursuant to 28 U.S.C. § 636(b)(1)(B) and this Court’s Local Rule


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72.3. Within 14 days of service, any party may file written objections to

this R&R with the Court and serve a copy on all parties. The document

should be captioned “Objections to Magistrate Judge’s Report and

Recommendations.” Any request for additional time to file objections

should be filed with the Clerk for consideration by the assigned district

judge.

     After the objections period has ended, the Clerk shall submit this

R&R together with any objections to the assigned district judge. The

district judge will review the magistrate judge’s findings and

recommendations pursuant to 28 U.S.C. § 636(b)(1)(C). The parties are

advised that failure to timely file objections will result in the waiver of

rights on appeal. 11th Cir. R. 3-1; see Symonette v. V.A. Leasing Corp.,

648 F. App’x 787, 790 (11th Cir. 2016); Mitchell v. United States, 612 F.

App’x 542, 545 (11th Cir. 2015).

     SO ORDERED and REPORTED and RECOMMENDED, this

15th day of November, 2024.



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                                   CHRISTOPHER
                                    HRIST
                                        S OP PHE
                                              H R L. RAY
                                   UNITED STATES MAGISTRATE JUDGE
                                   SOUTHERN DISTRICT OF GEORGIA


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